      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 1 of 9 Page ID #:45



 1   EILEEN M. DECKER
     United States Attorney
 2   DENNISE D. WILLETT
     Assistant United States Attorney
 3   Chief, Santa Ana Office
     ANNE C. GANNON (Cal. Bar No. 214198)
 4   Assistant United States Attorney
          411 West Fourth Street, Suite 8000
 5        Santa Ana, California 92701
          Telephone: (714) 338-3548
 6        Facsimile: (714) 338-3561
          E-mail:     anne.gannon@usdoj.gov
 7
     Attorneys for Plaintiff
 8   UNITED STATES OF AMERICA

 9                           UNITED STATES DISTRICT COURT

10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                No. SA CR 15-63-JLS

12             Plaintiff,                     GOVERNMENT’S MOTION IN LIMINE TO
                                              ADMIT CHILD PORNOGRAPHY IMAGES AND
13                   v.                       VIDEOS

14   TODD CHRISTIAN HARTMAN,                  CURRENT TRIAL DATE:        8/11/15
15             Defendant.

16

17        Plaintiff United States of America, by and through its counsel
18   of record, the United States Attorney for the Central District of
19   California, hereby moves in limine for a pretrial order granting the
20   admissibility of select child pornography images and videos.            This
21   motion is based on the attached Memorandum of Points and Authorities,
22   \\
23   \\
24   \\
25   \\
26   \\
27   \\
28
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 2 of 9 Page ID #:46



 1   the files and records in this case and any further evidence or

 2   argument as may be presented at the hearing on the motion.

 3   Dated: July 27, 2015                 Respectfully submitted,

 4                                        EILEEN M. DECKER
                                          United States Attorney
 5
                                          DENNISE D. WILLETT
 6                                        Assistant United States Attorney
                                          Chief, Santa Ana Office
 7

 8                                              /s/
                                          ANNE C. GANNON
 9                                        Assistant United States Attorney

10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           2
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 3 of 9 Page ID #:47



 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2        I. INTRODUCTION

 3        Defendant is currently charged with two counts of distribution

 4   of child pornography, in violation of Title 18, United States Code,

 5   Section 2252A(a)(2), (b)(1) and one count of possession of child

 6   pornography, in violation of Title 18, United States Code, Section

 7   2252A(a)(5)(B), (b)(2).      Trial is scheduled for August 11, 2015.          The

 8   Court should rule that a limited selection of child pornography is

 9   admissible to prove the necessary elements of the charged offenses.

10        II.   ARGUMENT

11              A.    The Government is Entitled to Introduce a Limited
                      Selection of Child Pornography
12
          Whether an image of a naked child meets the statutory definition
13
     of child pornography is a factually intense determination that the
14
     Ninth Circuit has held must be made by the jury.          United States v.
15
     Arvin, 900 F.2d 1385, 1391 (9th Cir. 1990) ("The distinction between
16
     a pornographic depiction and an innocent one is a distinction the
17
     jury should be able to make from its own experience.").
18
          In order to decide if a crime has been committed, the jury must
19
     determine if the images are: (1) pornographic; (2) of minors; and (3)
20
     depict actual or “real” children.         The Ninth Circuit and several
21
     other courts have held that the jury can decide both the age of the
22
     child and whether the child is “real” from simply looking at the
23
     images alone.    United States v. Rearden, 349 F.3d 608, 614 (9th Cir.
24
     2003) (Expert medical testimony not necessary where “obvious from the
25
     pictures themselves that they are children”); United States v. Sims,
26
     428 F.3d 945, 957 (10th Cir. 2005) (juries can determine based on the
27
     image alone and without expert evidence, that the image is actual)
28

                                           3
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 4 of 9 Page ID #:48



 1   (quotations omitted); United States v. Slanina, 359 F.3d 356, 357

 2   (5th Cir. 2004) (per curiam); United States v. Vig, 167 F.3d 443, 449

 3   50 (8th Cir. 1999).     Here, the government proposes introducing 20

 4   images and 10 videos of child pornography.         Taken together, these

 5   images and videos represent a small selection based on the seizure of

 6   approximately 1,800 images and videos depicting minors recovered from

 7   defendant’s computer.

 8        In addition to proving that child pornography, not innocent

 9   pictures, were possessed on defendant’s computer and distributed by

10   defendant via a peer-to-peer file sharing network, the government

11   must also prove defendant's knowledge.        This knowledge requirement

12   applies both to the sexually explicit nature of the material and to

13   the age of the performers pictured.        United States v. X Citement

14   Video, Inc., 513 U.S. 64, 78 (1994).        Proving a defendant’s state of

15   mind is challenging, as there is rarely direct evidence of mental

16   state.   Id. at 85 (Scalia, J., dissenting) (defendant’s knowledge of

17   performers’ age is obviously hard to prove).          Given the high burden

18   the government must meet to establish defendant’s knowledge that the

19   pictures contained children, were pornographic, and depicted real

20   children, the probative value of the proposed exhibits outweighs any

21   prejudicial effect.     United State v. Mende, 43 F.3d 1298, 1302 (9th

22   Cir. 1995) (“Relevant evidence is inherently prejudicial; but it is

23   only unfair prejudice, substantially outweighing probative value,

24   which permits exclusion of relevant matter under Rule 403.”)

25        Here, defendant made admissions regarding some of his conduct

26   but declined to fully discuss his involvement during his interview.

27   Thus, the burden rests with the government to prove that a reasonable

28   person viewing the images would have the required mental state.               The

                                           4
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 5 of 9 Page ID #:49



 1   government will be asking the jury to infer from the proposed

 2   exhibits that defendant would have known that such pictures depict

 3   children not adults, were pornographic, and were created using actual

 4   children.   United States v. Becht, 267 F.3d 767, 774 (8th Cir. 2001)

 5   (“Only by viewing the images could the jury understand how likely it

 6   was that even a glance [by defendant] would have revealed the

 7   presence of illegal images.”)

 8        To determine what a reasonable person viewing the images and

 9   videos would have known will require the jury to examine the

10   material.   Details like realistic facial expressiveness, use of the

11   same children multiple times in a series, clothing worn, or highly

12   detailed backgrounds (such as carpet or furniture) of a picture can

13   show that defendant must have known the performers were real

14   children.   See United States v. Marchand, 308 F.Supp.2d 498, 507

15   (D.N.J. 2004); United States v. Pabon Cruz, 255 F.Supp.2d 200, 213

16   (S.D.N.Y. 2003) (“pornographic photos were extremely relevant” to

17   whether defendant knew children in photos were real).

18        The Ninth Circuit has affirmed the introduction of child

19   pornography even in cases where the defendant offered to stipulate.

20   See United States v. Ganoe, 538 F.3d 1117 (9th Cir. 2008) (district

21   court did not abuse its discretion in ruling that probative value of

22   selection of images was not substantially outweighed by danger of

23   unfair prejudice.    Although defendant offered to stipulate images

24   represented actual children engaged in sexual conduct and that anyone

25   seeing them would know they were child pornography, he refused to

26   stipulate that file titles alone would convey to reasonable user that

27   files contained child pornography, leaving government obliged to

28   prove that he was aware of images’ content); United States v. Hay,

                                           5
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 6 of 9 Page ID #:50



 1   231 F.3d 630 (9th Cir. 2000) (Allowing the jury to view child

 2   pornography was not unduly prejudicial).

 3        Here, the government proposes introducing the following five

 4   videos that were downloaded by Detective David Syvock, Newport Beach

 5   Police Department, from defendant’s peer-to-peer file sharing account

 6   on October 16, 2014.     Count One of the Indictment specifically

 7   charges the distribution of the contents of file name (~pthc

 8   center~)(opva)(2013)Cumming over loli_s pussy 2010 7yo_and_Dad

 9   BRILLIANT.wmv.

10        1) File name: (~pthc center~)(opva)(2013) 11yo boy&girl in the

11           childs camp.avi

12           Description: This video is 3:41 in length and begins with a

13           partially nude female child performing oral sex on what

14           appears to be a juvenile male.        The female is then seen

15           sitting on the edge of the bed as she spreads her vagina and

16           a person just off camera is seen holding a cell phone.            The

17           female child is then seen donning her underpants as a

18           prepubescent male is seen exposing his genitals to the

19           camera.    The female child then begins to perform oral sex on

20           the male child before removing her underpants and sitting on

21           his genitals.     The children appear to be having sexual

22           intercourse for several minutes before the video abruptly

23           ends.

24        2) File name: (~pthc center~)(opva)(2013)Cumming over loli_s

25           pussy 2010 7yo_and_Dad BRILLIANT.wmv

26           Description: This video is 1:26 in length and begins with a

27           prepubescent child exposing her vagina.         An adult male is

28           then seen from the waist down as he rubs his erect penis

                                           6
     Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 7 of 9 Page ID #:51



 1          against the child’s vagina.       The adult male continues rubbing

 2          and inserting his penis into the child’s vagina before he

 3          ejaculates on her genitals and legs.

 4       3) File name: PTHC Pedoland Frifam Webcam – 11Yo Pt – Spoiled

 5          Princess Shows All Stickam.avi

 6          Description: This video is 1:35 in length and begins with a

 7          female child, approximately 11-12 years old, wearing a blue

 8          bathrobe sitting in front of a camera.         As the video

 9          continues, the child is seen opening her robe, removing her

10          pajama pants and underwear before inserting her fingers into

11          her vagina.    The child then looks into the camera and sticks

12          her tongue out before exposing her anus.          Before the video

13          abruptly ends, the child is seen exposing her underdeveloped

14          breasts to the camera.

15       4) File name: 2 11 Yr Bate Omfg!!!! Stickam Xxcaliaxx2.avi

16          Description: This video is 3:00 in length and depicts two 9-

17          11 year old females.      The first female child removes her

18          shorts and underwear and displays her vagina.           The second

19          female child removes her shorts and underwear and displays

20          her anus and vagina.      Later, the two girls are depicted fully

21          naked displaying their vaginas and underdeveloped breasts.

22       5) File name: [pthc 2013] 8yo Daughter BJ Daddy [Webcam] – by

23          Nibra Productions.flv

24          Description: This video is 6:24 in length and begins with a

25          female child approximately 8-9 years old facing the camera.

26          The child appears to be talking to someone off camera when an

27          adult male’s penis appears from the left side of the screen.

28          The child immediately begins performing oral sex on the male.

                                          7
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 8 of 9 Page ID #:52



 1           The penis then disappears from the screen and the child

 2           remains on camera for several more minutes until the video

 3           abruptly ends.

 4        The government proposes introducing a portion of the following

 5   video that was downloaded by Detective David Syvock, Newport Beach

 6   Police Department, from defendant’s peer-to-peer file sharing account

 7   on December 29, 2014.     Count Two of the Indictment specifically

 8   charges the distribution of the contents of file name Kidcam – Mirey

 9   -12Y (2010)Pthc!!.avi.

10        6) File name: Kidcam – Mirey -12Y (2010)Pthc!!.avi.

11           Description:    This video is 1:58 in length and begins with a

12           pubescent female exposing her vagina to the camera.            The

13           female’s face is not immediately visible in the video.            At 25

14           seconds into the video, the camera focuses on the female’s

15           face and she appears to be approximately 13-14 years old.

16           The child is lying on her back with her legs spread as she

17           fondles her breast over her clothes.         The camera then pans

18           back to the child’s vagina and anus as she remains on her

19           back.   The child eventually stands in front of the camera as

20           she dons her underpants and the video abruptly ends.

21        Child pornography images and videos are relevant and admissible

22   to prove Count Three of the Indictment which alleges that defendant

23   possessed, on the date law enforcement executed a search warrant at

24   his residence, at least one image of child pornography on a HP

25   computer tower.    The six videos detailed above were recovered from

26   the HP computer.    In addition to these videos, the government moves

27   to admit four additional videos and 20 still images of child

28

                                           8
      Case 8:15-cr-00063-JLS Document 18 Filed 07/27/15 Page 9 of 9 Page ID #:53



 1   pornography recovered from digital devices seized at defendant’s

 2   residence.

 3        III. CONCLUSION

 4        For the reasons set forth above, the government’s motion to

 5   limine for an order admitting select child pornography images and

 6   videos should be granted.

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           9
